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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN

In Re: Sealed Matter                        Misc. No. 2:20-mc-51079
                                            Honorable George Caram Steeh


               MOTION AND ORDER TO UNSEAL SEARCH
                    WARRANTS AND AFFIDAVITS


      THE UNITED STATES OF AMERICA respectfully requests that the search

warrants and affidavits in this case be unsealed for the following reasons:

   1. That the United States is no longer apprehensive that one or more persons
      may flee the jurisdiction or that evidence may be destroyed if they become
      aware of the substance of the search warrants and affidavits.

   2. That the United States is no longer apprehensive that there is danger of
      harm to potential government witnesses if any persons become aware of
      the substance of the search warrants and affidavits.

                                             Respectfully submitted,

                                             SAIMA MOHSIN
                                             Acting United States Attorney

                                             s/Emily Gurskis
                                             Emily Gurskis
                                             Trial Attorney
                                             Department of Justice
                                             Criminal Division, Fraud Section
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                                             Washington, DC 20005
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IT IS SO ORDERED.
                                             s/Curtis Ivy, Jr.
                                             Curtis Ivy, Jr.
                                             United States Magistrate Judge
Entered: February 25, 2021
